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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Abri Health Services, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed           Abri Health Care Services LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  600 North Pearl Street, Suite 1050
                                  Dallas, TX 75201
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https:abrihealthcare.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Abri Health Services, LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Senior Care Centers, LLC                                        Relationship            Subsidiary
                                                 District                                 When                              Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Abri Health Services, LLC                                                                 Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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Debtor    Abri Health Services, LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      04/16/2021
                                                  MM / DD / YYYY


                                 X       /s/ Kevin O'Halloran                                             Kevin O'Halloran
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Executive Officer




18. Signature of attorney    X       /s/ Liz Boydston                                                      Date 04/16/2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Liz Boydston
                                 Printed name

                                 Polsinelli PC
                                 Firm name

                                 2950 N. Harwood, Suite 2100
                                 Dallas, Texas 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     214-661-5557                  Email address      lboydston@polsinelli.com

                                 24053684 TX
                                 Bar number and State




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 Liz Boydston (SBN 24053684)                                             Jeremy R. Johnson (Pro Hac Vice Pending)
 Savanna Barlow (SBN 24109617)                                           Stephen J. Astringer (Pro Hac Vice Pending)
 Trinitee G. Green (SBN 24081320)                                        Polsinelli PC
 Polsinelli PC                                                           600 3rd Avenue, 42nd Floor
 2950 N. Harwood, Suite 2100                                             New York, New York 10016
 Dallas, Texas 75201                                                     Telephone: (212) 684-0199
 Telephone: (214) 397-0030                                               Facsimile: (212) 684-0197
 Facsimile: (214) 397-0033                                               jeremy.johnson@polsinelli.com
 lboydston@polsinelli.com                                                sastringer@polsinelli.com
 sbarlow@polsinelli.com
 tggreen@polsinelli.com

 PROPOSED COUNSEL TO THE DEBTORS AND
 DEBTORS IN POSSESSION

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                §
 In re:                                                         §        Chapter 11
                                                                §
 Abri Health Services, LLC, et al.,1                            §        Case No. __-_____ (---)
                                                                §
                                Debtors.                        §        (Joint Administration Requested)
                                                                §

      CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT TO
        FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

          Pursuant to Rule 1007(a)(1) and 7007.1 of the Federal Rules of Bankaruptcy Procedure,

the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”) respectfully

represent that the following corporation direct or indirecly own 10% or more of any class of

Debtors’ equity interests.



                    Entity                                                          Ownership
 Abri Care Group, LLC                                               Abri Health Services, LLC (100%)
 Abri Health Services, LLC                                          Senior Care Centers, LLC (100%)



          1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number,
are Abri Health Services, LLC (3319) and Senior Care Centers, LLC (8550).



77634155.1
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 Fill in this information to identify the case:
 Debtor name Abri Health Services, LLC, et al.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders
                                     12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TXMS Real Estate                                                Trade debt             Disputed                                                                      $2,494,717.62
 Investments, Inc.
 2829 Townsgate
 Rd., #350
 Westlake Village, CA
 91361
 Centurylink                                                     Trade debt                                                                                             $153,334.66
 Attn:
 Legal-Bankruptcy
 Dept.
 1025 El Dorado
 Blvd.
 Broomfield, CO
 80021
 Cogent                                                          Trade debt                                                                                               $23,229.31
 Communications,
 Inc.
 P.O. Box 791087
 Baltimore, MD
 21217-1087
 Birch                                                           Trade debt                                                                                                 $1,576.43
 Communications
 Attn: Nicole
 Scarberry-McKee
 1301 Chestnut
 Emporia, KS 66801




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Fill in this information to identify the case:

 Debtor name         Abri Health Services, LLC, et al.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration     Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         April 16, 2021                           X     /s/ Kevin O'Halloran
                                                                         Signature of individual signing on behalf of debtor

                                                                         Kevin O'Halloran
                                                                         Printed name

                                                                         Chief Executive Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               United States Bankruptcy Court
                                                                      Northern District of Texas
 In re      Abri Health Services, LLC, et al.                                                                     Case No.
                                                                                   Debtor(s)                      Chapter    11



                                        DECLARATION FOR ELECTRONIC FILING OF
                                 BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)

PART I: DECLARATION OF PETITIONER:

         As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
partnership, or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of,
the debtor in accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically
in this case. I have read the information provided in the petition and in the lists of creditors to be filed electronically in
this case and I hereby declare under penalty of perjury that the information provided therein, as well as the social
security information disclosed in this document, is true and correct. I understand that this Declaration is to be filed with
the Bankruptcy Court within 7 days after the petition and lists of creditors have been filed electronically. I understand that
a failure to file the signed original of this Declaration will result in the dismissal of my case.

            I hereby further declare under penalty of perjury that I have been authorized to file the petition and lists of
            creditors on behalf of the debtor in this case.


 Date:        April 16, 2021                                          /s/ Kevin O'Halloran
                                                                     Kevin O'Halloran, Chief Executive
                                                                     Officer


PART II: DECLARATION OF ATTORNEY:

        I declare under penalty of perjury that: (1) I will give the debtor(s) a copy of all documents referenced by Part I
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code,
and have explained the relief available under each such chapter.

 Date:             April 16, 2021                                                              /s/ Liz Boydston
                                                                                         Liz Boydston, Attorney for Debtor
                                                                                         2950 N. Harwood St., Suite 2100
                                                                                         Dallas, TX 75201
                                                                                         214-661-5557 Fax:214-397-0033




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